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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA >: CRNo. 1:23-cr-00123-SAG
v.
ROBERT KROP,
Defendant.
ORDER

UPON CONSIDERATION OF THE CONSENT MOTION by Mr. Krop for leave

of court to modify conditions of release to permit contact with his family member and

business associate Mr. Isaac Burrall, it is this 25th day of July , 2023
hereby:

ORDERED that the consent motion is GRANTED; and it is

FURTHER ORDERED that Mr. Krop may have contact as needed with Mr. Isaac

Burrall while continuing to refrain from discussing the instant criminal case.

/s/
Beth P. Gesner

Chief United States Magistrate Judge

